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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division


  UNITED STATES OF AMERICA
                 v.                         Criminal No. 3:24-CR-41 (DJN)

  MUHAMMAD PAHLAWAN,                        Hon. David J. Novak
                                            Trial Date: May 21, 2025
                         Defendant.


                                ADDITIONAL STIPULATIONS

        The United States of America, by and through undersigned counsel, and the defendant

 Muhammad Pahlawan, through counsel, for purposes of trial stipulate as follows:

                                      STIPULATION ELEVEN

 Stipulation Regarding Authenticity of Records

        Digital Forensic Examiner Karen Offerman of the Federal Bureau of Investigation’s

 Computer Analysis Response Team loaded the extractions from the hard drive into Federal Bureau

 of Investigation systems using industry standard software. The extractions of these electronic

 devices are authentic in that they are what they purport to be, and they have been maintained in a

 proper chain of custody from the time of seizure of the electronic devices, through the time of the

 extractions of the devices and hard drives, to the time of trial. This stipulation applies to the

 exhibits admitted in this case from Muhammad Pahlawan’s cellular phone and from Mehandi

 “Mehdi” Hassan’s cellular phone.
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                                     STIPULATION TWELVE

        The United States Navy had reason to believe that the Yunus departed Iran on or about

 January 5, 2024. The Navy assessed with high confidence that the Yunus was carrying advanced

 conventional weaponry to Somalia for follow on shipment to the Houthis. The Navy was following

 the location of the Yunus from January 5, 2024 through January 11, 2024. The Navy also assessed

 that an interdiction of the Yunus would possibly yield lethal aid and would provide intelligence

 relating to smuggling advanced conventional weaponry in the Arabian Sea. On January 11, 2024,

 the United States Central Command Navy forces conducted a flag verification boarding of the

 Yunus. The interdiction was conducted, in part, to disrupt lethal aid illicit smuggling to the Houthis.




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                                  STIPULATION THIRTEEN

         The United States Government (“USG”) assessed that Muhammad Pahlawan was working

 for Shahab Mir’Kazei ( also referred to as Shabab Rigi, Shebab Mirqazi, Shabab Meer Kazia, and

 Shabab Mirkaze’i). The USG also assessed that Shahab Mir’Kazei was an Iranian maritime

 facilitator from Zahedon, Iran, who owned multiple dhows and was associated with weapons

 smuggling operations in Chabahar.

         In March 2017, the USG assessed that Shahab Mir'Kazei was an Iranian Businessman

 involved in the smuggling of weapons from Iran using Iranian fishing vessels. The USG assessed

 that Shahab Mir'Kazei was associated with telephone number 989159446791.

         The USG assessed on February 1, 2024, that while the crew of the Yunus did not appear to

 be directly affiliated with the Islamic Revolutionary Guard Corps Qods Force (“IRGC-QF”),

 Mohammad Pahlawan was in contact with Shahab Mir’Kazei, and Shahab Mir’Kazei was

 affiliated with the IRGC-QF or has some IRGC-QF connections.

         Defense Exhibit 73, the Exploitation Report, is admitted into evidence pursuant to this

 stipulation.



 So stipulated.

 Respectfully Submitted,

 /s/_________________                 /s/_________________
 Laura Koenig                         Troy A. Edwards, Jr.
 Amy Austin                           Gavin R. Tisdale
 Geremy Kamens                        Assistant United States Attorneys
 Jessica N. Carmichael, Esq.          United States Attorney’s Office
 Counsel for                          Joseph N. Kaster
 Muhammad Pahlawan                    Trial Attorney
                                      National Security Division, CTS




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